Case 1:03-cv-OO707-SEB-.]PG Document 36 Filed 03/30/04 Page 1 of 4 Page|D #: 78

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JOHN R. RISING-MOORE,
Plaintiff,
vs. IP l:O3-CV-OO707-SEB-JPG

RED ROOF INNS, INC.,
Defendant.

ORDER DENYING MOTION TO REMAND

This is a personal injury case. Plaintiff slipped and fell on Defendant’s business
premises and, according to the complaint, suffered damages in the form of medical
expenses (estimated to be just shy of $10,800.), lost income (plaintiff estimated that his
total annual income prior to the accident was $175, 000., though it is unclear how much
of that amount came from Wages and Would he lost by his inability to work), pain and
suffering from “severe and permanent injuries, including a closed head injury and related
neurological impairment,” and “other losses.” Prior to the filing of the Complaint,
Plaintiff estimated the jury verdict potential of his claim as ranging from $180,000 to
$240,000, and offered to settle for $160,000.

Defendant removed the case to federal court. Plaintiff seeks remand, contending
there has not be a definitive showing that the amount in controversy exceeds the
jurisdictional amount of $75,000.

Case law requires us to determine Whether the evidence establishes a “reasonable

Case 1:03-cv-OO707-SEB-.]PG Document 36 Filed 03/30/04 Page 2 of 4 Page|D #: 79

probability” that the amount in controversy requirement is satisfied NLFC v. Devcom

Mid-Am Inc., 45 F.3d 231, 237 (7th Cir. 1995). In damages actions, such as the one

 

before us, the court must be certain that the plaintiff cannot recover the jurisdictional
amount before dismissing the case or remanding it after removal. _l\_/Ia_cl_<_ini<._rel_.l\_/IM
v. Jensen, 333 F.3d 797, 800 (7ch Cir. 2003), citing L_Igu_l___l\/Lercurymm_ni_tyg._y_.w
M, 303 U.S. 283, 289 (1938). We cannot say that plaintiff here cannot recover an
amount that exceeds the jurisdictional limit of $75,000.

There are several indicators that the amount in controversy exceeds the
jurisdictional limit. Without deciding the appropriateness of pinning the jurisdictional
amount determination to plaintiff’s pre-filing settlement proposal of $160,000, Plaintiff
expressed the view that this lawsuit had a value in the range of $180,000 to $240,000,
more than three times the jurisdictional limit. (Exhibit B to Defendant’s Response, which
reads, “We believe this case has jury verdict potential in the range of $180,000 to
$240,000.”) That evaluation was not a settlement offer; the settlement offer was
$160,000. The valuation range was likely provided by Plaintiff’s counsel to give
credence to the reasonableness of the settlement offer, but it plainly was an amount
distinguishable from the settlement offer. We know of no reason not to credit that value
in determining the amount in controversy.

Further, Plaintiff’s stipulated medical damages must be considered fairly

substantial (an amount apparently exceeding $10,000), which sum, when added to the

Case 1:03-cv-OO707-SEB-.]PG Document 36 Filed 03/30/04 Page 3 of 4 Page|D #: 80

other very serious injuries for which a monetary recovery is claimed, clearly and quickly
causes us to conclude that the overall, total money damages in this cases likely exceed the
$75,000 limit. Adding damage increments for lost income, pain and suffering, permanent
head and neurological impairments, and “other losses” (whatever that means), the
jurisdictional limit of $75,000 is clearly implicated

This case is not analogous to the situation which Judge Easterbrook confronted in
writing for the Court of Appeals in Macken, s_uB. There, the 7‘h Circuit was faced with
an original action invoking the district court’s diversity jurisdiction seeking
injunctive/equitable relief. Plaintiffs sought an accounting and the handing over of
unredacted trust documents by the trustee to allow the mother of the children named in
the trust to determine if the trust was being properly and prudently managed and the
income applied according to the trust’s terms. There was no amount in controversy as
such, since no value could be placed on this information or the delivery of it to the
mother. The district judge’s decision dismissing the suit for want of subject-matter
jurisdiction was affirmed by the Court of Appeals.

The principles cited by Judge Easterbrook in Macken do not directly apply to our
case, because Plaintiff in the action at bar seeks money damages rather than equitable
relief and dollar estimates are available Because the value of the case in controversy as
known to Defendant at the time the removal petition exceeded the jurisdictional limit of

$75,000., the removal was well-grounded and remand is improper. The Motion to

Case 1:03-cv-OO707-SEB-.]PG Document 36 Filed O3/30/O4 Page 4 of 4 Page|D #: 81

Remand accordingly is DENIED.

It is so ORDERED this ZOM day of March 2004.

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SARAH EVANS BARKER, JUDGE
United States District Court
Southern District of Indiana

 

Copy to:

Counsel of record subject to electronic service

